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 7

 8

 9                              UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA
                                           SAN FRANCISCO
11

12
      UNITED STATES OF AMERICA, ) CR- 20-000451-EMC
13                                  )
                 Plaintiff,         ) DEFENDANT’S SENTENCING
14                                  ) MEMORANDUM
15           v.                     )
                                    ) Date: June 16, 2022
16    JOSE ALFREDO VILLALOBOS ) Time: 10:15 a.m.
      CISNEROS                      )
17
                                    ) HONORABLE EDWARD M. CHEN
18               Defendant.         ) United States District Judge
      _____________________________
19

20
                                          I. INTRODUCTION
21         Defendant Jose Alfredo Villalobos Cisneros has no objections to the facts or
22
     sentencing Guideline calculations contained in the Final Presentence Report dated
23
     May 26, 2022. Mr. Villalobos Cisneros adopts the facts detailed in the report
24

25   concerning his personal history, employment, and family background.
26
                                                1
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 1         The sentence of a term of imprisonment of 60 months recommended by the
 2
     Probation Officer is supported by the totality of the offense and offender characteristics,
 3
     discussed below. Such a sentence is “sufficient but not greater than necessary” to
 4

 5   effectuate the policy objectives of 18 U.S.C. § 3553 sentencing factors.
 6
                                         II. APPLICABLE LAW
 7
           Adequate consideration of the § 3553(a) sentencing factors helps ensure that the
 8

 9   sentencing decision is individualized. The Supreme Court has emphasized that the
10
     punishment imposed “should fit the offender and not merely the crime.” Pepper, 131
11
     S.Ct. at 1240 (citations omitted) (emphasis added). See also Gall, 522 U.S. at 52,
12

13
     quoting Koon v. United States, 518 U.S. 14. 81, 113 (1996).

14
           The Federal Sentencing Guidelines are the “starting point” and “initial
15
     benchmark” in the determination of a just and appropriate sentence. See Gall v.
16

17   United States, 552 U.S. 38, 49- 51 (2007); Pepper v. United States, 131 S. Ct. 1229,
18   1241 (2011); Kimbrough v. United States, 552 U.S. 85, 108 (2007) (quoting Gall, 552
19
     U.S. at 49); United States v. Hill, 645 F.3d 900, 905 (7th Cir. 2011).
20

21         Gall directs the Court to “consider all the § 3553(a) factors” to arrive at a just
22
     sentence that is “sufficient but not greater than necessary” to achieve the purposes of
23
     sentencing. 18 U.S.C. § 3553(a). The “sufficient but not greater than necessary”
24

25   standard—also known as the “parsimony” clause—is the “overarching provision” of §
26
                                                 2
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 1   3553(a). Kimbrough, 552 U.S. at 101. By its terms that provision instructs the Court
 2
     to consider a sentence that is the least severe, i.e., not greater, than necessary. See
 3
     United States v. Santoya, 493 F. Supp. 2d 1075, 1077 (E.D. Wis. 2007) (“This is the
 4

 5   so-called ‘parsimony provision,’ which requires district courts to impose the minimum
 6   punishment needed to satisfy the purposes of sentencing—just punishment,
 7
     deterrence, protection of the public and rehabilitation of the defendant.”).
 8

 9         A “variance” is a sentence outside the guideline range provided for in the
10
     Guidelines Manual. Gall, 128 S.Ct. at 596. Courts have held that variances are not
11
     subject to the guideline analysis for departures. United States v. Fumo, 655 F.3d 288,
12

13   317 (3d Cir. 2011). In some situations, a prohibited ground for departure may be a

14   valid basis for a variance. United States v. Chase, 560 F.3d 828 (8th Cir. 2009).
15
     Sentencing courts need not justify sentences outside the guideline range through
16
     “extraordinary” circumstances.” A district court need only take into account the §
17

18   3553(a) factors and recognize that the guidelines are not mandatory. United States v.
19
     Clay, 579F.3d 919 (8th Cir. 2009) .
20

21         The § 3553(a) sentencing factors the variance recommended by the probation

22   officer and requested by Mr. Villalobos Cisneros .
23

24   //

25
     //
26
                                                  3
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 1
                III. HISTORY AND CHARACTERISTICS OF MR. VILLALOBOS
 2                   CISNEROS
 3
           A. Family Background
 4
            Mr. Villalobos Cisneros’ childhood was one of poverty and deprivation. He
 5

 6   stopped attending school in the fifth grad to work to help support the family.

 7   The probation report details the suffering and hardships Mr. Villalobos Cisneros
 8
     endured as a child in rural Michoacan, Mexico.
 9
           B. Employment
10

11         In the last 20 + years Mr. Villalobos Cisneros completely turned his

12   life around. He became completely rehabilitated. Mr. Villalobos Cisneros has devoted
13
     himself to his extended family and his employment. The probation report details
14
     Mr. Villalobos Cisneros’ exemplary employment history as a union drywall installer
15

16   earning an excellent salary. He has established a close-knit, supportive and loving
17   family and in a long-term relationship with Ms. Anais Torres.
18
           C. October 2019 Injury
19
           Everything was going well until October 2019 when he suffered a fall from a
20

21   ladder at work and broke his hand. Relying on the promises of his employer, he did not
22
     file a Workers Compensation Claim and was paid with payroll checks that bounced. It
23
     was not until June 24, 2020 that Mr Villalobos Cisneros filed a claim. He did not
24

25
     received any compensation until February 9, 2021.

26
                                                 4
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 1         Extensive medical records were provided to the probation officer that show a
 2
     very serious break that required extensive care and rehabilitation. Mr. Villalobos
 3
     Cisneros still suffers the effects of the injury.
 4

 5         After being out of work for almost a year he became involved in the offense
 6   conduct. Mr. Villalobos Cisneros had no source of income, did not receive disability or
 7
     any type of assistance. He borrowed money from family and friends to pay the rent,
 8
     food, and the basic needs of his family. Letters were provided to the probation officer
 9

10   from friends and relatives who confirm they loaned Mr. Villalobos Cisneros over
11
     $30,000.00 for rent, food and basic living expenses for his family.
12
           D. Offense Conduct
13

14
           Mr. Villalobos Cisneros is from an area of Michoacan where drug

15   trafficking is rampant. Most of Mr. Villalobos Cisneros’ family is still in Mexico.
16
     Everyone in the area of Tierra Caliente, including members of family, are directly or
17
     indirectly involved or affected by drug trafficking. Mr. Villalobos Cisneros comes
18

19   from a very large family, many of whom live in cartel-controlled regions in Michoacan,

20   Mexico. Mr. Villalobos Cisneros maintained contact with his family in Mexico and in
21
     the United States. Family, friends, and acquaintances knew Mr. Villalobos Cisneros
22
     was in dire financial straits. Mr. Villalobos Cisneros was contacted and agreed to sell
23

24   drugs. The facts and circumstances of the offense conduct are accurately described in

25   the probation report.
26
                                                   5
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 1         Notwithstanding his family’s knowledge of trafficking, Mr. Villalobos Cisneros
 2
     did not have any drug-related arrests or law enforcement contacts involving drugs since
 3
     1993. Mr. Villalobos Cisneros remained crime-free, employed and productive for over
 4

 5   20 years. Accordingly, he is properly placed in Criminal History Category I.
 6         Faced with financial ruin and deeply in debt, Mr. Villalobos Cisneros
 7
     succumbed and reached out to his brothers to provide a source of drugs so he could
 8
     pay his debts and provide for his family. But for his injuries, Mr. Villalobos Cisneros
 9

10   would not have become involved in the present offenses.
11
           Acceptance of Responsibility
12
           Mr. Villalobos Cisneros has entered a guilty plea and admitted his participation
13

14
     in the offense conduct. Mr. Villalobos Cisneros has admitted the facts described in

15   the in the plea agreement. He fully accepts responsibility for his actions.
16
           When arrested, he provided a complete statement of his involvement. Finally,
17
     Mr. Villalobos Cisneros participated in a Safety Valve interview with the government
18

19   where, again, he truthfully answered all questions concerning his involvement and guilt.

20   Mr. Villalobos Cisneros has clearly accepted responsibility for his actions.
21
           Collateral Consequences (Deportation)
22
           Mr. Villalobos Cisneros’ conviction will lead to a host of collateral consequences
23

24   that the Court is respectfully requested to consider in imposing the 60 month sentence

25   recommended. Because Mr. Villalobos Cisneros is undocumented, he will be deported
26
                                                 6
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 1   to Mexico after he completes his sentence. His employment and the life he built for
 2
     himself and his family for the past 20+ years is lost. As the attached letter from his
 3
     spouse Anais Torres states, the impact on Mr. Villalobos Cisneros’ family will be
 4

 5   drastic. Such consequences constitute punishment and are properly considered by the
 6   Court.
 7
                                              IV. CONCLUSION
 8
              For the reasons stated, and based upon the authorities cited, it is respectfully
 9

10   submitted that a sentence of 60 months is “sufficient but not greater than necessary”
11
     to achieve the purposes of sentencing. 18 U.S.C. § 3553(a). The collapse of Mr.
12
     Villalobos Cisneros’ employment and the drastic effects on the rest of his life establish
13

14
     that such a sentence is ample punishment.

15

16
     Dated: June 8, 2022                             Respectfully submitted,
17

18                                                      /s/ LUPE MARTINEZ

19                                                   LUPE MARTINEZ
                                                     Attorney for Defendant
20
                                                     Jose Alfredo Villalobos Cisneros
21

22

23

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                                                    7
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